                   Case 2:22-cv-00323-RGK-JEM Document 3 Filed 01/14/22 Page 1 of 4 Page ID #:7




                     1 LEWIS BRISBOIS BISGAARD & SMITH LLP
                       JOHN L. BARBER,SB# 160317
                     2   E-Mail: John.Barber@lewisbrisbois.com
                       MADONNA L. DEVLING, SB# 163419
                     3   E-Mail: Madonna.Devling@lewisbrisbois.com
                       650 Town Center Drive, Suite 1400
                     4 Costa Mesa, California 92626
                       Telephone: 714.545.9200
                     5 Facsimile: 714.850.1030
                     6 LEWIS BRISBOIS BISGAARD & SMITH LLP
                       RACHEL J. LEE, SB# 225263
                     7   E-Mail: Rachel.Lee@lewisbrisbois.com
                       633 West 5th Street, Suite 4000
                     8 Los Angeles, California 90071
                       Telephone: 213.250.1800
                     9 Facsimile: 213.250.7900
                   10 Attorneys for Defendants, UNIFYED,
                      LLC and CAMPUSEAI, INC.
                   11
                   12                               UNITED STATES DISTRICT COURT
                   13                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                   14
                   15 MELISSA ROBERTSON, an                              Case No. 2:22-cv-00323
                      individual,
                   16                                                    DECLARATION OF ANJLI JAIN
                                   Plaintiff,                            IN SUPPORT OF DEFENDANT
                   17                                                    UNIFYED, LLC’S NOTICE OF
                              vs.                                        REMOVAL OF CIVIL ACTION
                   18                                                    PURSUANT TO 28 U.S.C. SECTION
                      UNIFYED, LLC, an Illinois limited                  1441(a) (DIVERSITY
                   19 liability company; CAMPUSEAI, INC.,                JURISDICTION)
                      an Ohio Corporation; and DOES 1-10
                   20 inclusive,                                         [Filed concurrently with Notice of
                                                                         Removal of Civil Action; Certification
                   21                      Defendants.                   and Notice of Interested Parties;
                                                                         Declaration of Madonna L. Devling and
                   22                                                    Civil Cover Sheet]
                   23
                   24                                DECLARATION OF ANJLI JAIN
                   25            I, Anjli Jain, declare as follows:
                   26            1.        The statements in this declaration are made on the basis of my own
                   27 personal knowledge, and I could and would competently testify thereto if called

LEWIS              28
BRISBOIS                4871-9827-7640.1
BISGAARD
& SMITH LLP             DECLARATION OF ANJLI JAIN IN SUPPORT OF DEFENDANTS UNIFYED, LLC AND CAMPUSEAI, INC.’S
ATTORNEYS AT LAW                                 NOTICE OF REMOVAL OF CIVIL ACTION
                   Case 2:22-cv-00323-RGK-JEM Document 3 Filed 01/14/22 Page 2 of 4 Page ID #:8




                     1 upon to do so. I make this declaration in support of Defendant Unifyed, LLC’s
                     2 Notice of Removal of Civil Action.
                     3            2.        I am the Chief Executive Officer and Secretary of Defendant
                     4 CampusEAI, Inc.
                     5            3.        As a result of performing responsibilities in my position, I know and
                     6 understand CampusEAI, Inc.’s organizational structure, the location of its
                     7 headquarters/principal place of business, the location of its officers and senior
                     8 management and the identity of its wholly owned subsidiaries.
                     9            4.        CampusEAI, Inc. is a corporation organized under the laws of the State
                   10 of Ohio and its principal place of business is its corporate office located at 936 SW
                   11 1st Avenue, Suite 413, Miami, Florida 33130. The majority of CampusEAI, Inc.’s
                   12 high-level executive, marketing, and legal functions take place in Miami, Florida. Its
                   13 officers direct, control, and coordinate the corporation’s activities in Miami, Florida.
                   14             5.        Defendant Unifyed, LLC is a wholly owned subsidiary of CampusEAI,
                   15 Inc. Unifyed, LLC. is a limited liability company organized under the laws of
                   16 Illinois and its principal place of business is its company office located at 936 SW
                   17 1st Avenue, Suite 422, Miami, Florida 33130.
                   18             6.        Given my position with Defendants, I am familiar with the customs and
                   19 business practices for maintaining records pertaining to their current and former
                   20 employees. I have access to and personal knowledge of the employment records of
                   21 Plaintiff, and am familiar with her employment history. These records were created
                   22 at or near the time of the events and are maintained by Defendants in the ordinary
                   23 course of business.
                   24             7.        At the time Plaintiff’s employment with Unifyed, LLC ended, in May
                   25 2021, Plaintiff’s salary was $130,000 per year plus a quarterly bonus based upon
                   26 sales. In 2020, Plaintiff earned approximately $42,298.50 in bonuses.
                   27
LEWIS              28
BRISBOIS                 4890-8590-2601.1                                2
BISGAARD
& SMITH LLP              DECLARATION OF ANJLI JAIN IN SUPPORT OF DEFENDANTS UNIFYED, LLC AND CAMPUSEAI, INC.’S
ATTORNEYS AT LAW                                  NOTICE OF REMOVAL OF CIVIL ACTION
                   Case 2:22-cv-00323-RGK-JEM Document 3 Filed 01/14/22 Page 3 of 4 Page ID #:9




                     1            8.        CampusEAI, Inc. was served with the Summons and Complaint in this
                     2 case on October 28, 2021 through its agent for service of process, Incorp Services,
                     3 Inc.
                     4            9.        CampusEAI, Inc.’s status with the California Franchise Tax Board was
                     5 suspended but reinstated on or about December 30, 2021.
                     6            10.       Unifyed, LLC was served with the Summons and Complaint in this
                     7 case on January 14, 2022 through its counsel of record in this litigation, Lewis
                     8 Brisbois Bisgaard & Smith LLP.
                     9            11.       CampusEAI, Inc. consents to Unifyed, LLC’s removal of this case to
                   10 federal court.
                   11             I declare under penalty of perjury under the laws of the United States of
                   12 America and the laws of the State of California and Florida that the foregoing is true
                   13 and correct and that this declaration was executed on January        14   , 2022, at Miami,
                   14 Florida.
                   15
                   16
                                                                       Anjli Jain
                   17
                   18
                   19
                   20
                   21
                   22
                   23
                   24
                   25
                   26
                   27
LEWIS              28
BRISBOIS                 4890-8590-2601.1                              3
BISGAARD
& SMITH LLP              DECLARATION OF ANJLI JAIN IN SUPPORT OF DEFENDANTS UNIFYED, LLC AND CAMPUSEAI, INC.’S
ATTORNEYS AT LAW                                  NOTICE OF REMOVAL OF CIVIL ACTION
                   Case 2:22-cv-00323-RGK-JEM Document 3 Filed 01/14/22 Page 4 of 4 Page ID #:10




                     1                        FEDERAL COURT PROOF OF SERVICE
                                                Melissa Robertson v. Unifyed, LLC, et al.
                     2                                  Case No. 21STCV37867
                     3 STATE OF CALIFORNIA, COUNTY OF ORANGE
                     4        At the time of service, I was over 18 years of age and not a party to the action.
                       My business address is 650 Town Center Drive, Suite 1400, Costa Mesa, CA 92626.
                     5 I am employed in the office of a member of the bar of this Court at whose direction
                       the service was made.
                     6
                              On January 14, 2022, I served the following document(s): DECLARATION
                     7 OF  ANJLI   JAIN IN SUPPORT OF DEFENDANT UNIFYED, LLC’S NOTICE OF
                       REMOVAL OF CIVIL ACTION PURSUANT TO 28 U.S.C. SECTION 1441(A)
                     8 (DIVERSITY JURISDICTION)
                     9         I served the documents on the following persons at the following addresses
                         (including fax numbers and e-mail addresses, if applicable):
                    10
                       Matthew B. Perez, Esq.                         Attorneys for Plaintiff, MELISSA
                    11 Devon M. Lyon, Esq.                            ROBERTSON
                       Lyon Legal, P.C.
                    12 2698 Junipero Ave., Suite 201A                 T: (562) 216-7382
                       Signal Hill, CA 90755                          F: (562) 216-7385
                    13
                                                                      m.perez@lyon-legal.com
                    14                                                d.lyon@lyon-legal.com
                    15            The documents were served by the following means:
                    16           (BY U.S. MAIL) I enclosed the documents in a sealed envelope or package
                                  addressed to the persons at the addresses listed above and I deposited the
                    17            sealed envelope or package with the U.S. Postal Service, with the postage
                                  fully prepaid.
                    18
                                 (BY E-MAIL OR ELECTRONIC TRANSMISSION) Based on a court order
                    19            or an agreement of the parties to accept service by e-mail or electronic
                                  transmission, I caused the documents to be sent to the persons at the e-mail
                    20            addresses listed above. I did not receive, within a reasonable time after the
                                  transmission, any electronic message or other indication that the transmission
                    21            was unsuccessful.
                    22        I declare under penalty of perjury under the laws of the United States of
                         America and the State of California that the foregoing is true and correct.
                    23
                                  Executed on January 14, 2022, at Costa Mesa, California.
                    24
                    25
                    26                                                Danielle Morgan
                    27

LEWIS               28
BRISBOIS
BISGAARD
                         4871-9827-7640.1                            1
& SMITH LLP              DECLARATION OF ANJLI JAIN IN SUPPORT OF DEFENDANTS UNIFYED, LLC AND CAMPUSEAI, INC.’S
ATTORNEYS AT LAW                                  NOTICE OF REMOVAL OF CIVIL ACTION
